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UN|TED STA`E`ES OF AMER|CA

P|aintiff
VS.
CR. NO. 04-20386-0
CHR|S ANTHONY PARKS
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAV
AND SETT|NG

 

This cause came on for a report date on Nlay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a report date of Thursday, August 25l 2005l at 9:00 a.m., in Courtroom 3, 9th F|oor of
the Federa| Bui|ding, |V|emphis, TN.

The period from |Vlay 17, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

lT |S SO ORDERED this §§ day Of l\/|ay, 2005.

    

B RNICE B. ONALD
lTED STATES DISTR|CT JUDGE

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UNITD sATES ISTRIC COURT - WEERN DISITRCT OF TENNESSEE

 

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This notice confirms a copy of the document docketed as number 50 in
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Honorable Bernice Donald
US DISTRICT COURT

